                                                                                                                                                             POS-010
               Case 5:21-cv-00777-JWH-SHK Document 89 Filed 08/09/22 Page 1 ofFOR
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)
                                                                               2 COURT
                                                                                   Page    ID #:984
                                                                                       USE ONLY
    Kyle R Petersen,Esq | SBN: Bar No.307483
    LOEB & LOEB LLP
    10100 Santa Monica Blvd Suite 1900 Los Angeles, CA 90067
   TELEPHONE NO.: (310) 282-2334 | FAX NO. (310) 282-2200 | E-MAIL ADDRESS
    ATTORNEY FOR (Name): Plaintiff: WM. WRIGLEY JR. CO. and MARS, INCORPORATED



 UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
         STREET ADDRESS: 411      W. 4TH STREET
         CITY AND ZIP CODE: SANTA     ANA, CA 92701
            BRANCH NAME:


      PLAINTIFF/PETITIONER: WM. WRIGLEY JR. COMPANY, A DELAWARE CORPORATION,
                                    et al.                                                                     CASE NUMBER:

DEFENDANT/RESPONDENT: ROBERTO CONDE d/b/a 2020EDIBLEZ, AN INDIVIDUAL, et al.                                   5:21-cv-00777-JWH-SHKx

                                                                                                               Ref. No. or File No.:
                                       PROOF OF SERVICE OF SUMMONS                                                                     208719-10057
                                              (Separate proof of service is required for each party served.)
1. At the time of service I was at least 18 years of age and not a party to this action.
2. I served copies of:
   a.     Summons
   b.     Complaint
   c.     Alternative Dispute Resolution (ADR) package
   d.     Civil Case Cover Sheet
   e.     Cross-Complaint
   f.     other (specify documents): First Amended Complaint; Standing Order
3. a. Party served (specify name of party as shown on documents served):
         Marco Anthony Burgos d/b/a 2020Ediblez, an Individual
                          Age: 41 - 45 | Weight: 161-180 Lbs | Hair: Black | Sex: Male | Height: 5'7 - 6'0 | Eyes: Brown | Race: Latino

    b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
             item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
4. Address where the party was served: 21630 CALLE PRIMA
                                                     MORENO VALLEY, CA 92557
5. I served the party (check proper box)
   a.     by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
          receive service of process for the party (1) on (date): 8/3/2022 (2) at (time): 7:39 PM
    b.       by substituted service. On (date): at (time): I left the documents listed in item 2 with or
             in the presence of (name and title or relationship to person indicated in item 3):

             (1)        (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                        person to be served. I informed him of her of the general nature of the papers.
             (2)        (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                        abode of the party. I informed him or her of the general nature of the papers.
             (3)        (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                        address of the person to be served, other than a United States Postal Service post office box. I informed him of
                        her of the general nature of the papers.
             (4)        I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                        place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                        (date): from (city):                                                 or   a declaration of mailing is attached.
             (5)        I attach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                               Page 1 of 2
Form Approved for Mandatory Use                                                                                                           Code of Civil Procedure, § 417.10
Judicial Council of California                              PROOF OF SERVICE OF SUMMONS
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               Case 5:21-cv-00777-JWH-SHK
          PETITIONER:                                   Document
                      WM. WRIGLEY JR. COMPANY, A DELAWARE           89
                                                          CORPORATION, et al. Filed       08/09/22 Page
                                                                                                     CASE2NUMBER:
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      RESPONDENT: ROBERTO CONDE d/b/a 2020EDIBLEZ, AN INDIVIDUAL, et al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                          (2) from (city):
                (3)     with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                        (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):


           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.         On behalf of
                under the following Code of Civil Procedure section:
                                   416.10 (corporation)                         415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                 416.60 (minor)
                                   416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                   416.40 (association or partnership)          416.90 (authorized person)
                                   416.50 (public entity)                       415.46 (occupant)
                                                                                other:

7. Person who served papers
   a. Name: Norman Vilchez - Nationwide Legal, LLC REG: 12-234648
   b. Address: 1609 James M Wood Blvd. Los Angeles, CA 90015
   c. Telephone number: (213) 249-9999
   d. The fee for service was: $ 468.65
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)       registered California process server:
                  (i)      owner                  employee            independent contractor.
                  (ii) Registration No.: 2015085755
                  (iii) County: Los Angeles

8.         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.


                Date: 8/4/2022
                Nationwide Legal, LLC
                1609 James M Wood Blvd.
                Los Angeles, CA 90015
                (213) 249-9999
                www.nationwideasap.com



                                  Norman Vilchez
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




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                                                          PROOF OF SERVICE OF SUMMONS
                                                                                                                                  POS-010/LA296974
